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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

ATTORNEY AFFIDAVIT PURSUANT TO LOCAL RULE 1.3(c)

I, William Owen Scharf, do solemnly swear that | am a member in good standing of the
bar of the state of Missouri and that:

(1) I have never been convicted of a felony;

(2) I have never been censured, suspended, disbarred or denied admission or readmission
by any court; and

(3) There are no disciplinary proceedings presently against me.

Dated: March 6, 2024 Mm [

William Owen SchArt

Subscribed and sworn to before me, a Notary Public in and for the Cohertey of
. im
St Cans , State of Wlisgare this YY day of

March 2024. De Ag
[—-

PATRICIA ADAMS
Notary Public - Notary Seal Notary Public

St. Louts City « State of Missouri
Commission Number 11395585
My Commission Expires Jun 1, 2025

